                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
 In re:                               :
                                      : Case No.: 1:19-bk-00983-HWV
 Daniel N Dickensheets AKA Dan N      : Chapter 13
 Dickensheets                         : Judge Henry W. Van Eck
 Shelly Mae Dickensheets FKA Shelly M : * * * * * * * * * * * * * * * * * * *
 Groft, FKA Shelly Keeney, AKA Shelly :
 M Dickensheets, FKA Shelly Mae Groft :
                                      :
 Debtor(s)                            :
                                      :
 Wells Fargo Bank, N.A., d/b/a Wells  :
 Fargo Auto                           :
 Movant                               :
                                      :
                                      :
        v.                            :
                                      :
 Daniel N Dickensheets AKA Dan N      :
 Dickensheets                         :
 Shelly Mae Dickensheets FKA Shelly M :
 Groft, FKA Shelly Keeney, AKA Shelly :
 M Dickensheets, FKA Shelly Mae Groft :
 Jack N Zaharopoulos (Trustee)        :
 Respondents

                                 CERTIFICATE OF DEFAULT

        Now comes Wells Fargo Bank, N.A., d/b/a Wells Fargo Auto, its successor and assigns

 (hereinafter, "Creditor") by and through counsel, and certifies to this Court that Daniel N

 Dickensheets AKA Dan N Dickensheets and Shelly Mae Dickensheets FKA Shelly M Groft,

 FKA Shelly Keeney, AKA Shelly M Dickensheets, FKA Shelly Mae Groft ("Debtors") have

 failed to comply with the Order approving the stipulation dated June 8, 2020, a copy of which is

 attached hereto as Exhibit "A", by failing to make timely payments in accordance with the

 stipulation. Pursuant to the Order, the automatic stay will terminate upon the filing of a

 Certificate of Default.




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        Creditor hereby avers that Debtors are delinquent for the May, 2021 payment and for all

 arrears that were due thereafter. Further, pursuant to the terms of the stipulation, Creditor

 provided Debtors and their Counsel with a Notice of Default on June 8, 2021, allowing Debtors

 ten (10) days to cure the default. A copy of said default letter is attached hereto as Exhibit "B".

 Ten (10) days have passed and the default has not been cured.


        WHEREFORE, upon the filing of this Certificate of Default, Creditor requests that the

 Court enter an order terminating the automatic stay.


                                                        Respectfully submitted,
                                                          /s/ Adam B. Hall
                                                        Adam B. Hall, Esquire (323867)
                                                        Sarah E. Barngrover (323972)
                                                        Manley Deas Kochalski LLC
                                                        P.O. Box 165028
                                                        Columbus, OH 43216-5028
                                                        Telephone: 614-220-5611
                                                        Fax: 614-627-8181
                                                        Attorneys for Creditor
                                                        The case attorney for this file is Adam B.
                                                        Hall.
                                                        Contact email is abh@manleydeas.com




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                                      :
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        v.                            :
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 Daniel N Dickensheets AKA Dan N      :
 Dickensheets                         :
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 Groft, FKA Shelly Keeney, AKA Shelly :
 M Dickensheets, FKA Shelly Mae Groft :
 Jack N Zaharopoulos (Trustee)        :
 Respondents

                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing Certificate of Default was

 served on the parties listed below via e-mail notification:

    Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

    Jack N Zaharopoulos (Trustee), Chapter 13 Trustee, Standing Chapter 13 Trustee, 8125
    Adams Drive, Suite A, Hummelstown, PA 17036, info@pamd13trustee.com

    Gary J Imblum, Attorney for Daniel N Dickensheets and Shelly Mae Dickensheets, Imblum
    Law Offices, P.C., 4615 Derry Street, Harrisburg, PA 17111, gary.imblum@imblumlaw.com


                                                                                      28 2021:
 The below listed parties were served via regular U.S. Mail, postage prepaid, on June ___,




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   Daniel N Dickensheets AKA Dan N Dickensheets and Shelly Mae Dickensheets FKA Shelly
   M Groft, FKA Shelly Keeney, AKA Shelly M Dickensheets, FKA Shelly Mae Groft, 1305
   York Road, Gettysburg, PA 17325-7513


           06/28/2021
   DATE: __________________
                                                   /s/ Adam B. Hall
                                               Adam B. Hall, Esquire (323867)
                                               Sarah E. Barngrover (323972)
                                               Manley Deas Kochalski LLC
                                               P.O. Box 165028
                                               Columbus, OH 43216-5028
                                               Telephone: 614-220-5611
                                               Fax: 614-627-8181
                                               Attorneys for Creditor
                                               The case attorney for this file is Adam B.
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